                 IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                          SOUTHERN DIVISION

                              No. 7:23-cv-00897-RJ

IN RE:                                  )
                                        )
CAMP LEJEUNE                            )    PLAINTIFFS' APPENDIX TO LOCAL
WATER LITIGATION                        )     CIVIL RULE 56.1 STATEMENT OF
                                        )            MATERIAL FACTS
This Document Relates to:               )
ALL CASES                               )



  Exhibit Number                            Description of Exhibit


         Exhibit 1                March 19, 2024 Status Conference
                                             Transcript

         Exhibit 2                 Declaration of Emmie L. Schulte

         Exhibit 3                   Declaration of Paula J. Yost
                            Exhibit A to the Declaration of Paula J. Yost,
                             Certified Document from the Surrogate and Clerk of
                             Superior Court of Ocean County, New Jersey
                            Exhibit B to the Declaration of Paula J. Yost,
                             Application Documents
                            Exhibit C to the Declaration of Paula J. Yost,
                             Letters Testamentary
                            Exhibit D to the Declaration of Paula J. Yost,
                             Affidavit of No Prior Estate
                            Exhibit E to the Declaration of Paula J. Yost,
                             Application for Letters of Administration
                            Exhibit F to the Declaration of Paula J. Yost,
                             Letters of Administration




         Case 7:23-cv-00897-RJ Document 187 Filed 05/01/24 Page 1 of 3
Exhibit Number                     Description of Exhibit

   Exhibit 4                  Declaration of Mikki W. White
                     Exhibit A to Declaration of Mikki W. White,
                      Data on Number of Estates Opened for CLJA
                     Decedents




   Exhibit 5                  Affidavit of Carol A. Bassano
                     Exhibit A to Affidavit of Carol A. Bassano,
                      Military Record of Service
                     Exhibit B to Affidavit of Carol A. Bassano,
                      Death Certificate
                     Exhibit C to Affidavit of Carol A. Bassano,
                      Letters Testamentary


   Exhibit 6             Declaration of Rachael H. Armstrong
                     Exhibit A to the Declaration of Rachael H. Armstrong,
                      Military Service Record
                     Exhibit B to the Declaration of Rachael H. Armstrong,
                      Death Certificate


   Exhibit 7                  Affidavit of Eddie Mae Miller
                     Exhibit A to the Affidavit of Eddie Mae Miller,
                      Death Certificate


   Exhibit 8               Declaration of Aaron Jophlin, Esq.

   Exhibit 9                        Declaration of
                             James Russell Segars, III, Esq.


                               2
   Case 7:23-cv-00897-RJ Document 187 Filed 05/01/24 Page 2 of 3
Exhibit Number                    Description of Exhibit

  Exhibit 10            Declaration of Mona Lisa Wallace, Esq.
                             (Everette C. Armstrong, Jr.)

  Exhibit 11            Declaration of Mona Lisa Wallace, Esq.
                             (Thomas Anthony Bassano)

  Exhibit 12            Declaration of James Franklin Key, II
                     Exhibit A to the Declaration of James Franklin Key, II,
                      Military Service Record
                     Exhibit B to the Declaration of James Franklin Key, II,
                      Patricia Key Death Certificate
                     Exhibit C to the Declaration of James Franklin Key, II,
                      Letters of Appointment for James Franklin Key
                     Exhibit D to the Declaration of James Franklin Key, II,
                      Letters of Appointment for James Franklin Key, II and
                     Patricia Kay Key



  Exhibit 13              Declaration of Whitney W. Williams
                     Exhibit A to the Declaration of Whitney W. Williams,
                      Email chain with Ms. Bianchi and Whitney W.
                     Williams




                               3
   Case 7:23-cv-00897-RJ Document 187 Filed 05/01/24 Page 3 of 3
